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                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF PUERTO RICO


 UNITED STATES OF AMERICA
 Plaintiff
 vs                                                   CRIMINAL 10-0247CCC

 1) ROSA E. CASTRILLON-SANCHEZ
 2) ROSA E. SANCHEZ-MERCADO
 3) JORGE RIVERA-IZQUIERDO
 4) JACK O’DELL
 5) CARMEN Z. SOSA-BARRETO
 6) LUIS RODRIGUEZ-BARRETO
 7) NOEMI DELGADO-ALICEA
 8) LIMARIE AMALBERT-BIRRIEL
 9) AMARILYS PAGAN-ESTRELLA
 Defendants

                                          ORDER
        Having considered the Report and Recommendation filed on June 17, 2011 (docket
entry 241) on a Rule 11 proceeding of co-defendant (5) Carmen Z. Sosa-Barreto held before Chief
U.S. Magistrate Judge Bruce J. McGiverin on June 16, 2011, to which no opposition has been filed,
the same is APPROVED. Accordingly, the plea of guilty of co-defendant Carmen Z. Sosa-Barreto
is accepted. The Court FINDS that her plea was voluntary and intelligently entered with awareness
of her rights and the consequences of pleading guilty and contains all elements of the offense
charged in the indictment.
        This case was referred to the U.S. Probation Office for preparation of a Presentence
Investigation Report since June 16, 2011.          The sentencing hearing is set for
September 15, 2011 at 4:30 PM.
        SO ORDERED.
        At San Juan, Puerto Rico, on June 28, 2011.




                                                   S/CARMEN CONSUELO CEREZO
                                                   United States District Judge
